Case 2:20-cv-06834-JAK-MAA Document 1 Filed 07/30/20 Page 1 of 7 Page ID #:1



 1
     Scott M. Grace, SBN 236621
 2   Grace Law, APC
     1958 Sunset Cliffs Boulevard
 3
     San Diego, CA 92107
 4   Phone: (619) 346-4611
 5
     Facsimile: (619) 501-8106
     sgrace@gracelawapc.com
 6

 7   Attorney for Plaintiff Emily DeJesus
 8

 9                     IN THE UNITED STATES DISTRICT COURT
10                FOR THE CENTRAL DISTRICT OF CALIFORNIA
11

12
      Emily DeJesus,                                  Case No. 20-cv-6834
13

14                                Plaintiff,            COMPLAINT FOR VIOLATIONS
                                                        OF:
15
      vs.
16
                                                          • FEDERAL FAIR DEBT
      Jefferson Capital Systems, LLC; Law
17
      Office of Harris & Zide; and Does 1                   COLLECTION PRACTICES
18    through 5, inclusive.                                 ACT
19
                                                          • CALIFORNIA FAIR DEBT
                                  Defendants.               BUYING PRACTICES ACT
20

21
                                                        DEMAND FOR JURY TRIAL
22

23

24
     I.     Introduction
25
            1.    Plaintiff Emily DeJesus, (“DeJesus” or “Plaintiff”), through her

26
     counsel, brings this action to challenge the acts of Defendants Jefferson Capital

27
     Systems, LLC (“Jefferson”) and Law Office of Harris & Zide (hereinafter “Harris &

28
     Zide”) (collectively “Defendants”) regarding violations of the Fair Debt Collection

     Complaint                                                          Case No. 20-cv-6834


                                                -1-
Case 2:20-cv-06834-JAK-MAA Document 1 Filed 07/30/20 Page 2 of 7 Page ID #:2



 1
     Practices Act, 15 U.S.C. § 1692, et seq. (hereinafter “FDCPA”) and the California
 2   Fair Debt Buying Practices Act (“FDBPA”), all of which prohibit debt collectors
 3   and creditors from engaging in abusive, deceptive and unfair practices.
 4          2.     Plaintiff makes these allegations on information and belief, with the
 5   exception of those allegations that pertain to Plaintiff or Plaintiff’s counsel, which
 6   Plaintiff alleges on personal knowledge.
 7          3.     While many violations are described below with specificity, this
 8   Complaint alleges violations of the statutes cited in their entirety.
 9          4.     Plaintiff is unaware of the true names or capacities, whether individual,
10   corporate, associate or otherwise of the Defendants sued herein as Does 1 through 5,
11   and therefore, sues the Defendants by such fictitious names.
12          5.     Any violations by Defendants were knowing, willful, and intentional,
13   and Defendants did not maintain procedures reasonably adapted to avoid any such
14   violations.
15   II.    Jurisdiction and Venue
16          6.     This action arises out of violations by each of the Defendants of the
17   FDCPA under 15 U.S.C. §1692, et seq. and violations by Defendant Velocity of the
18   FDBPA under Cal. Civ. Code §1788.50, et seq.
19          7.     Jurisdiction arises pursuant to 28 U.S.C. §1331, 15 U.S.C. §1692(k)(d),
20   and 28 U.S.C. §1367 for supplemental state claims.
21          8.     As Defendants do business in the state of California, and committed the
22   acts that form the basis for this suit in the state of California, the Court has personal
23   jurisdiction over Defendants for purposes of this action.
24          9.     Venue is proper in this Court pursuant to 28 U.S.C. §1391.
25   III.   Parties
26          10.    Plaintiff is a natural person residing in Harbor City, California, and is a
27   consumer within the meaning of 15 U.S.C. §1692a(3) of the FDCPA in that he is a
28


     Complaint                                                          Case No. 20-cv-6834


                                                -2-
Case 2:20-cv-06834-JAK-MAA Document 1 Filed 07/30/20 Page 3 of 7 Page ID #:3



 1
     natural person purportedly obligated to pay a consumer debt, allegedly owed to
 2
     Jefferson (hereinafter “Debt”).
 3
            11.   Plaintiff is informed and believes that Defendant Jefferson is and was at
 4
     all relevant times a Minnesota limited liability company, or “LLC” engaged in the
 5
     business of purchasing and collecting charged-off consumer debts with its principal
 6
     place of business located at 16 McLeland Road, St. Cloud, Minnesota 56303, and is
 7
     a “debt buyer” as that term is defined by California Civil Code §1788.50(a)(1).
 8
            12.   Jefferson’s principal purpose is to collect money on the debts it
 9
     purchases, and as such Jefferson is a “debt collector” under 15 U.S.C. §1692a.
10
            13.   Defendant Jefferson, in the ordinary course of business, regularly, and
11   on behalf of himself, herself, or others, engages in debt collection as that term is
12   defined by California Civil Code §1788.2(b), and is therefore a debt collector as that
13   term is defined by California Civil Code §1788.2(c).
14          14.   Plaintiff is informed and believes that Defendant Harris & Zide is and
15   was at all relevant times a California law firm and a person who uses an
16   instrumentality of interstate commerce or the mails in a business the principal
17   purpose of which is the collection of debts, or who regularly collects or attempts to
18   collect, directly or indirectly, debts owed or due or asserted to be owed or due
19   another and is therefore a debt collector as that phrase is defined by 15 U.S.C.
20   §1692a(6).
21          15.   Defendant Harris & Zide, in the ordinary course of business, regularly,
22   and on behalf of himself, herself, or others, engages in debt collection as that term is
23   defined by California Civil Code §1788.2(b), and is therefore a debt collector as that
24   term is defined by California Civil Code §1788.2(c).
25   IV.    Facts Common to all Claims for Relief
26          16.   On August 9, 2019, Harris & Zide filed a complaint on behalf of
27   Jefferson (“Collection Complaint”) in the Superior Court of California for the
28


     Complaint                                                          Case No. 20-cv-6834


                                                -3-
Case 2:20-cv-06834-JAK-MAA Document 1 Filed 07/30/20 Page 4 of 7 Page ID #:4



 1
     County of Los Angeles against Plaintiff, in the matter of Jefferson Capital Systems,
 2   LLC v. Emily S. DeJesus, case number 19NWLC30845 (“Collection Action”).
 3          17.   Plaintiff was later served with the Collection Complaint.
 4          18.   In the Collection Complaint, at paragraph number CC-4, Defendants
 5   identified the “charge-off creditor at the time of charge-off” as Barclays Bank
 6   Delaware.
 7          19.   Plaintiff is informed and believes, and thereon alleges, that the above
 8   representation is false, and that a third party “investor” actually held title to the
 9   account at issue at the time of charge-off.
10          20.   Additionally, in paragraph CC-4 of the Collection Complaint,
11   Defendants disclosed the names and addresses of all entities who have purchased the
12   debt as after charge off as follows:
13                CreditShop Credit Card Company, LLC
14                504 Lavaca Street, Suite 930, Austin, TX 788701
15                and
16                Jefferson Capital Systems, LLC
17                16 McLeland Road, Saint Cloud, MN 56303
18          21.   Plaintiff is informed and believes, and thereon alleges, that the above
19   representation is false, and that multiple third party “investors” purchased the debt
20   after charge off and were not disclosed by Defendants, and Defendants chose to hide
21   these third party “investors” from Plaintiff, and the court, in order to make it easier
22   to seemingly prove ownership of the account.
23          22.   The false, deceptive, and misleading statements made by Defendants
24   were material misstatements that negatively impacted Plaintiff’s statutory and legal
25   rights, and misled Plaintiff as to the character, amount, and legal status of the
26   alleged account, thereby causing Plaintiff confusion and anxiety.
27          23.   At all times herein, Defendants were attempting to collect, from
28   Plaintiff, a debt as defined by 15 U.S.C. §1692a (5) of the FDCPA, and a consumer
     debt as defined by Cal. Civ. Code §1788.2(f) of the Rosenthal Act.
     Complaint                                                            Case No. 20-cv-6834


                                                   -4-
Case 2:20-cv-06834-JAK-MAA Document 1 Filed 07/30/20 Page 5 of 7 Page ID #:5



 1
                                 FIRST CLAIM FOR RELIEF
 2                (Violations of the FDCPA by Jefferson and Harris & Zide)
 3          24.    Plaintiff re-alleges and incorporates herein by reference the allegations
 4   contained in the paragraphs above.
 5          25.    Defendants violated the FDCPA. Defendants’ violations include, but
 6   are not limited to the following:
 7          a.     15 U.S.C. §1692d by engaging in behavior the natural consequence of
 8   which is to harass, abuse or oppress;
 9          b.     15 U.S.C. §1692e by making a false, deceptive or misleading
10   misrepresentation in the collection of a debt;
11          c.     15 U.S.C. §1692e(2) by misrepresenting the character, amount or legal
12   status of a debt;
13          d.     15 U.S.C. §1692e(10) by use of a false representation or deceptive
14   means to collect a debt;
15          26.    Plaintiff is entitled to actual damages sustained as a result of
16   Defendants’ conduct, in an amount according to proof; to statutory damages of
17   $1,000 each; to costs of the action; and to reasonable attorney’s fees, all pursuant to
18   15 U.S.C. §1692k.
19                              SECOND CLAIM FOR RELIEF
20                          (Violations of the FDBPA by Jefferson)
21          27.    Plaintiff repeats, re-alleges, and incorporates by reference all the
22   allegations contained in the paragraphs above.
23          28.    Velocity’s acts and omissions violated the California Fair Debt Buying
24   Practices Act including, but not limited to Cal. Civ. Code §1788.58(a). Jefferson’s
25   violations of Cal. Civ. Code §1788.58(a) include, but are not limited to the
26   following:
27          a.     Failing to state the name and an address of the charge-off creditor at
28   the time of charge off and the charge-off creditor’s account number associated
     with the debt;
     Complaint                                                           Case No. 20-cv-6834


                                                 -5-
Case 2:20-cv-06834-JAK-MAA Document 1 Filed 07/30/20 Page 6 of 7 Page ID #:6



 1
            b.      Failing to state the names and addresses of all persons or entities that
 2
     purchased the debt after charge-off, including the plaintiff debt buyer;
 3
            36.     As a proximate result of the violations of the California Fair Debt
 4
     Buying Practices Act, Plaintiff is entitled to actual damages, statutory damages of
 5
     $100.00 to $1,000.00, reasonable attorney’s fees and costs of this action pursuant
 6
     to Cal. Civ. Code §1788.62.
 7
                                     PRAYER FOR RELIEF
 8          Plaintiff prays that judgment be entered against all named Defendants, and
 9   prays for the following relief:
10   FDCPA
11          1.      An award of actual damages pursuant to 15 U.S.C. § 1692k(a)(1)
12   against Jefferson and Harris & Zide and for the Plaintiff;
13          2.      An award of statutory damages of $1,000.00 pursuant to 15 U.S.C. §
14   1692k(a)(2)(A) against Jefferson and Harris & Zide and for the Plaintiff;
15          3.      An award of costs of litigation and reasonable attorney’s fees against
16   Jefferson and Harris & Zide and for the Plaintiff, pursuant to 15 U.S.C. §
17   1692k(a)(3);
18   FDBPA
19          7.      An award of actual damages pursuant to California Civil Code §
20   1788.62(a)(1) against Jefferson and for Plaintiff;
21          8.      An award of statutory damages of $1,000.00 pursuant to California
22   Civil Code § 1788.62(a)(1) against Jefferson and for Plaintiff;
23          9.      An award of costs of litigation and reasonable attorney’s fees, pursuant
24   to California Civil Code § 1788.62(c)(1) against Jefferson and for Plaintiff; and
25          10.     Such other and further relief this court may deem just and proper.
26
                                         JURY DEMAND
27
                    Plaintiff demands a trial by jury.
28


     Complaint                                                           Case No. 20-cv-6834


                                                 -6-
Case 2:20-cv-06834-JAK-MAA Document 1 Filed 07/30/20 Page 7 of 7 Page ID #:7



 1

 2   Date: July 30, 2020                        /s/Scott M. Grace
 3                                              Scott M. Grace
                                                Attorney for Plaintiff
 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


     Complaint                                                     Case No. 20-cv-6834


                                          -7-
